Case 1:17-cv-00320-JMS-RLP Document 82 Filed 04/23/18 Page 1 of 2    PageID #: 677




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  Attorney for Plaintiffs
  ME2 Productions, Inc., and
  Venice PI, LLC
                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  ME2 Productions, Inc., and            )   Case No.: 1:17-cv-00320-JMS-RLP
  Venice PI, LLC,                       )   (Copyright)
                                        )
                    Plaintiffs,         )   PLAINTIFFS’ MOTION FOR
     vs.                                )   PRELIMINARY INJUNCTION;
                                        )   MEMORANDUM OF POINTS AND
  Dragon Media, Inc. et al.             )   AUTHORITIES IN SUPPORT OF
                                        )   MOTION; EXHIBITS 1-6;
                    Defendants.         )   DECLARATION OF COUNSEL;
                                        )   DECLARATION OF WAYMOND
                                        )   NGAI; DECLARATION OF
                                        )   MICHAEL WICKSTROM;
                                        )   CERTIFICATE OF SERVICE

      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AGAINST
         DEFENDANTS DRAGON MEDIA INC. D/B/A DRAGON BOX
                      AND PAUL CHRISTOFORO

           COME NOW, First Plaintiff ME2 Productions, Inc. and Second Plaintiff

  Venice PI, LLC, by and through their counsel, move this honorable Court for a

  preliminary injunction against Defendants Dragon Media Inc. d/b/a Dragon Box


  17-320
Case 1:17-cv-00320-JMS-RLP Document 82 Filed 04/23/18 Page 2 of 2       PageID #: 678




  and Paul Christoforo. This motion is brought pursuant to pursuant to Rule 65(a) of

  the Federal Rules of Civil Procedure and LR 10.2(g).

           DATED: Kailua-Kona, Hawaii, April 23, 2018.



                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                 Attorney for Plaintiffs




  17-320
